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                             UNITED STATES JUDICIAL PANEL
                                          on
                               MULTIDISTRICT LITIGATION


IN RE: MARRIOTT INTERNATIONAL, INC.,
CUSTOMER DATA SECURITY BREACH
LITIGATION                                                                             MDL No. 2879


                                       TRANSFER ORDER


        Before the Panel:* Plaintiffs in two actions move separately under 28 U.S.C. § 1407 to
centralize this litigation in the District of Maryland. One movant alternatively suggests
centralization in the District of Massachusetts. Plaintiffs’ motions include eleven actions1 pending
in five districts, as listed on Schedule A. The Panel also has been notified of 70 potentially-related
actions filed in eleven districts.2

        The responding parties generally support centralization, though there is some opposition to
including the McGrath securities action in centralized proceedings. Responding plaintiffs in
nineteen actions support centralization in the District of Maryland, as do defendants Marriott
International, Inc.; Marriott Hotel Services, Inc.; and Starwood Hotels & Resorts Worldwide, LLC
(Starwood and, together, Marriott). Other suggested transferee districts are the Central District of
California, the Northern District of California, the District of Connecticut, the Southern District of
Florida, the Eastern District of New York, and the Northern District of Illinois.

        On the basis of the papers filed and the hearing held, we find that centralization under Section
1407 of all actions in the District of Maryland will serve the convenience of the parties and witnesses
and promote the just and efficient conduct of this litigation. Ten of these actions—which are
putative nationwide and/or statewide consumer class actions—share factual issues concerning a
recently-disclosed breach of Marriott’s Starwood guest reservation database from 2014 to 2018. The
factual overlap among these actions is substantial, as they all arise from the same data breach, and
they all allege that Marriott failed to put in to place reasonable data protections. Many also allege
that Marriott did not timely notify the public of the data breach. Centralization will eliminate



       *
        One or more Panel members who could be members of the putative classes in this litigation
have renounced their participation in these classes and have participated in this decision.
       1
          One motion includes the Eastern District of New York McGrath securities action, while
the other does not.
       2
         These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
7.1, and 7.2.
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duplicative discovery, prevent inconsistent pretrial rulings on class certification and other issues, and
conserve the resources of the parties, their counsel, and the judiciary.

        The McGrath action is brought on behalf of a putative nationwide class of Marriott
stockholders. It alleges that defendants’ filings with the U.S. Securities and Exchange Commission
(SEC) misled investors about the security of Marriott’s data systems, resulting in a drop in the price
of Marriott securities upon announcement of the data breach. Plaintiffs in at least three consumer
class actions support or do not oppose inclusion of McGrath in centralized proceedings. The
McGrath plaintiff and defendants (as well as plaintiffs in two consumer class actions) argue that
McGrath should not be included because it involves some unique defendants, unique claims, and
some unique factual issues regarding the preparation of Marriott’s SEC filings and the effect of the
announcement of the data breach on Marriott’s stock price. But there will be overlapping factual
issues and discovery relating to, inter alia, what Marriott knew about the security of Starwood’s
guest reservation database during and after its acquisition of Starwood in 2016. Indeed, these factual
issues likely will be central to both the securities action and the consumer class actions. We have
held that Section 1407 “does not require a complete identity of common factual issues or parties as
a prerequisite to transfer, and the presence of . . . differing legal theories is not significant where, as
here, the actions still arise from a common factual core.” See In re: Auto Body Shop Antitrust Litig.,
37 F. Supp. 3d 1388, 1390 (J.P.M.L. 2014). We find sufficient factual overlap among the actions
to warrant including McGrath in centralized proceedings and that its inclusion will not impose a
significant burden on the transferee judge. If the transferee judge finds at any point in pretrial
proceedings that the inclusion of McGrath will not serve the convenience of the parties and
witnesses or promote the just and efficient conduct of this litigation, Section 1407 remand of the
action to its transferor court can be accomplished with a minimum of delay. See Panel Rules 10.1-
10.3.

       We select the District of Maryland as the transferee district for this litigation. Marriott is
headquartered in that district, and relevant documents and witnesses thus likely will be found there.
Defendants and the vast majority of responding plaintiffs support selection of this district, and far
more actions are pending there than in any other district.
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       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the District of Maryland are transferred to the District of Maryland, and, with the consent of that
court, assigned to the Honorable Paul W. Grimm for coordinated or consolidated pretrial
proceedings.


                                      PANEL ON MULTIDISTRICT LITIGATION




                                                      Sarah S. Vance
                                                         Chair

                                      Lewis A. Kaplan                   Ellen Segal Huvelle
                                      R. David Proctor                  Catherine D. Perry
                                      Karen K. Caldwell                 Nathaniel M. Gorton
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IN RE: MARRIOTT INTERNATIONAL, INC.,
CUSTOMER DATA SECURITY BREACH
LITIGATION                                                         MDL No. 2879


                                       SCHEDULE A


           Central District of California

     KIM v. MARRIOTT INTERNATIONAL, INC., ET AL., C.A. No. 2:18-10034      PWG-19-358


           Northern District of Illinois

     FOX, ET AL. v. MARRIOTT INTERNATIONAL, INC., ET AL., C.A. No. 1:18-07936 PWG-19-359

           District of Maryland

     BELL, ET AL. v. MARRIOTT INTERNATIONAL, INC., C.A. No. 8:18-03684
     SPROWL, ET AL. v. MARRIOTT INTERNATIONAL, INC., C.A. No. 8:18-03691
     SUNDIUS-ROSE, ET AL. v. MARRIOTT INTERNATIONAL INC., C.A. No. 8:18-03696
     ELLIOT v. MARRIOTT INTERNATIONAL, INC., C.A. No. 8:18-03700
     WALKER v. MARRIOTT INTERNATIONAL, INC., ET AL., C.A. No. 8:18-03702
     TAPLING, ET AL. v. MARRIOTT INTERNATIONAL INC., C.A. No. 8:18-03703
     WEINSTEIN v. MARRIOTT INTERATIONAL, INC., ET AL., C.A. No. 8:18-03704

           District of Massachusetts

     PERKINS v. MARRIOTT INTERNATIONAL, INC., ET AL., C.A. No. 1:18-12477 PWG-19-367

           Eastern District of New York

     MCGRATH v. MARRIOTT INTERNATIONAL, INC., ET AL., C.A. No. 1:18-06845 PWG-19-368
